Case 3:18-CV-01441-.]AG Document 1-1 Filed 07/03/18 Page 1 01 2
CIVIL COVER SHEET

The .1S 44 civil cover sheet and the information contained herein neither replace nor supplement the iilin and service ot pleadings or other papers as required by law. except as
provided by local rules oi` coun This form approved by the ludicial Cont`erence ot` the United States in eptember 1974 15 required 101 the use 01` the Clerk oi Court for the

.lS 44 (Rev. 06/17)

purpose ot initiating the civil docket sheet

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1. (a) PLA[NTlFFs

1\/11nt Bank international, LLC and Guy Genti|e Nigro

(b) (,`ounty oi Residence 01 First Listed P|aintitt

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Adsuar Muniz Goyco Seda & Pérez-Ochoa, P.S_C.

208 F’once de Leon Ave.,

San Juan. PR 00918

Suite 1600

DEFEN DANTS

NOTE;

AllOm€_\/S 1// /\')11)1\')1)

 

County oi`Residence 01` First Listed Defendant

Office of the Commissioner of Financia| institutions of Puerto Fiico

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THE TRA("I` OF LAND lNVOLVED.

 

ll. BASlS OF JURISDICTION11'/111~¢¢”1 \'l

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Del`endant

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3 4 Diversity

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lll. CITIZENSHIP OF PRINCIPAL PARTIES (/’/tm'wz '.\"

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and ( )m' Hc).\'fur l )q/L'm/u/)I)

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of Business ln This Stale
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oi`Business 111 Another State
Citizen or Subject ofa 3 3 3 3 Foreign Nation 3 6 3 6

Foreign Countrv

 

 

 

Medical Ma.l ractice
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3 210 Land Condenmation
220 Foreclosure

230 Ren\ Lease & Ejectment
240 'l`orls to Lancl

245 Tort Product Liabilily
290 All Other Real Property

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3 362 Personal injury -

g 440 Other (`ivil Rights

3 441 Voting

3 442 Employment

3 443 Housing/
Accommodations

3 445 Amer. w/Disabilities -
Emp|oymem

3 446 Amer_ w/Disabilities -
Other

3 448 Education

 

Produ¢r L\'abimy

Habeas (`0rpus:

463 Alien Deiainee

510 Motions 10 Vacate
Sentence

530 Genera|

535 Dealh Penalty

Other:

540 Mandamus & Other

550(`1\'11 Riglns

555 Prison (`ondition

560 Ci\'il Detainee -
Conditions 01`
Conf`lnement

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13 110 lnsurance PERSONAL lN.lURY PERSONAL lNJllR\r 13 625 Drug Rela\ed Seizure 3 422 .~'\ppeal 28 USC' 158

13 120 Mai‘ine 3 310 Airplane 3 365 Personal lnjury - ofProperty 21 US(` 881 3 423 Withdrawal

13 1301\/1i11er Act 3 315 Airp|ane Product Product liability 3 690 Other 28 US(` 157

13 140 Negotiable lnstmment Liability 3 367 Health Care/'

13 150 Reco\'ery oi`()verpayment 3 320 Assaul\` Libel & Phannaceutical w
& Ent`orcement oi`Judgmenl Slander Personal lnjury 3 820 Copyrights

3 151 Medicare Act 3 330 Federal Einployers` Product Liability 3 830 Patenl

3 152 Recovery ofDet`aulted Liability 3 368 Asl)estos Personal 3 835 Patem - Abbreviated
Sruden\ Loans 3 340 Marine lnjury Produc\ f\lew Drug Application
(Excludes Veterans) 3 345 Man`ne Product Liabi|ity 3 840 Trademark

g 153 Recovery efoverpaymem Liabiiiry PERSONAL PROPERTY LA§{_)_T}
ol`Veteran`s Benef'its 3 350 Motor Vehicle 3 370 Gther Fraud 3 710 Fair Labor Standai‘ds 3 861 HIA (13951`1`)

3 160 Stockholders` Suits 3 355 Molor Vehicle 13 371 Truth in l.ending Act 3 862 Black Lung (923)

3 190 Other (`ontract Product Liability 3 380 Other Personal 3 720 Labor/'Management 3 863 DIW(`/'DIWW 1405(g))

3 195 (`oiin'act Product Liability 3 360 Olher Personal Property Dmnage Relations 3 864 SSID Title XVI

3 196 Franchise lnjury 3 385 Property Damage 3 740 Railway l,abor Act 3 865 RSI (405(g))

3 751 Family and Medical
l.eave Act

3 790 Other Labor Litigation

3 791 Employee Retiremenl
lncome Security Act

IMMIGRATION

F§DEMI» TA§ §U! § §

3 870 Taxes (U.S. Plaintit`f
or Det`endant)

3 871 lRSiThird Parry
26 US(` 7609

 

 

3 462 Naturalization Application
3 465 Other lmmigration
Aetions

 

 

   
 

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375 False (`laims Act

376 Qu\` Tam (31 US(`
3729(3))

400 State Reapportionmem

410 Antitrust

430 Banks and Banking

450 (`ommerce

460 Deportation

470 Racketeer Influenced and
(`omlpt Organizations

480 Consumer (`redit

490 Cable/Sat TV

850 Securi\ies/Coinmodities
Exchange

890 Otlier Statuloiy Acti<)ns

891 Agricultural Acts

893 En\'ironmenta.l Matlers

895 Freedom of`lnfonnation
Act

896 Arbitration

899 Adininistrati\'e Procedure
Act/Re\'iew or Appeal ot`
Agency Decision

950 (`ons\itu\ionality 01`
Sta\e Statutes

 

V. ORlGlN (/’/¢1c'e 1111","'\ 111 ()ne Br)x ()n/_W

g 1 Original

Proceeding

Vl. CAUSE OF ACTlON

3 2 Removed from
State C ourt

3 3

Remanded from
Appellate Court

3 4 Rei`nstated or

Reopened
f 1/)¢ 1111 )

13 5 Transi`crredi`rom
Another District

Transi`er

Cite the U,S. Civil Statute under which you are filing (1)1) mn citejr¢riv¢li¢ ti¢)nul.\mlute.v unle.\:\' divemity)i

3 6 Multidistrict
Litigation-

3 8 MLi|tidistrict
Litigation -
Direct 1 ile

 

 

Brief description ofcause:
Vio|ation of P|aintiff‘S Substantive due process rights & violation of both the 14 Amendment and the 15t Amendment

 

Vll. REQUESTED lN
COMPLAINT:

g CHECK lF THlS IS A CLASS A(.`TION
UNDER RULE 23`F.R,Cv.1’,

v111. RELATED CASE(S)

IF ANY

(See /)1.\'Ir11cllr)/1.\').'

JUDGE

DEMAND $

CHECK YES only ii`demanded in complaint

.IURY DEMAND:

DOCKET NUMBER

a Yes 3No

 

DA'rE
07/03/2018

SIGNATURE ()F ATTORNEY OF REC`ORD

 

FOR OFFl(`E llSE ONLY

RECEIPT 4

AMOUNT

APPL\'ING lFP

.lllDGE

MAG_ JUDGE

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.lS 44 Reverse (Rev. 06/17)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service ofpleading or other papers as
required by law. except as provided by local rules of court. This form. approved by the .ludicial Conf`erence ofthe United States in September 1974_ is
required for the use ofthe Clerk ofCourt for the purpose of`initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as f`ollows:

l.(a)

(b)

(€)

lll.

Vl.

Vll.

Vlll.

P|aintiffs-Defendants. Enter names (last. first` middle initial) of plaintiff and defendant If`the plaintiff`or defendant is a government agency_ use
only the full name or standard abbreviations. lfthe plaintiffor defendant is an official within a government agency. identify first the agency and
then the of`ficial_ giving both name and title.

County of Residence. For each civil case filed. except U.S. plaintiffcases. enter the name ofthe county where the first listed plaintiff resides at the
time of filing. 1n U.S. plaintiff cases. enter the name ofthe county in which the first listed defendant resides at the time of filing. (NOTE: ln land
condemnation cases` the county of residence ofthe "del`endant" is the location ofthe tract ofland involved.)

Attorneys. Enter the firm name. address. telephone numbert and attorney of record. 11` there are several attorneys. list them on an attachment noting
in this section "(see attachtncnt)".

Jurisdiction. The basis ofjurisdiction is set forth under Rule 8(a). F.R.Cv.P.` which requires that jurisdictions be shown in pleadings Place an "X"
in one ofthe boxes. Ifthere is more than one basis ofjurisdiction. precedence is given in the order shown below.

United States plaintiff. (l) .lurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers ofthe United States are included here.
United States defendant (2) When the plaintiff is suing the United States. its officers or agencies place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331. where jurisdiction arises under the Constitution ofthe United States. an amendment
to the Constitution, an act ofCongress or a treaty ofthe United States. ln cases where the U.S. is a party. the U.S. plaintiffor defendant code takes
precedence. and box l or 2 should be marked.

l)iversity of`citizenship. (4) This refers to suits under 28 U.S.C. 1332_ where parties are citizens ofdif`ferent states. When Box 4 is checked. the
citizenship ofthe different parties must be checked. (See Section 111 below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section ofthe .lS 44 is to be completed ifdiversity ofcitizenship was indicated above. l\/Iark this
section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If`there are multiple nature of`suit codes associated with the case. pick the nature of`suit code
that is most applicable Click here for; \`aturc 61`81111 (_ otto lic.<cri ')tions'.

 

Origin. Place an "X" in one ofthe seven boxes.

Original Proceedings (l) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C.. Section 1441.
When the petition for removal is granted. check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of`remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority ofTitle 28 U.S.C.
Section 1407.

Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket
PLEASE NOTE THAT THERE lS NOT AN ORlGlN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description ofthe cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 BriefDescription: Unauthorized reception ofcable service

Requested in Complaint. Class Action. Place an "X" in this box ifyou are filing a class action under Rule 231 F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand. such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not ajury is being demanded.

Re|ated Cases. This section ofthe JS 44 is used to reference related pending cases. if`any. If`there are related pending cases. insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.

